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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION
 UNITED STATES OF AMERICA,

               Plaintiff,                                  HONORABLE PAUL L. MALONEY

 v.                                                        Case No. 1:08-cr-274-10

 OWUSU ANANEH FIREMPONG,

            Defendant.
 _________________________________/

             ORDER GRANTING MOTION TO EXCUSE DEFENDANT FROM
                      ATTENDING UPCOMING HEARING

               This matter is before the Court on Defendant Owusu Ananeh Firempong's motion to

excuse defendant from attending upcoming hearing (Dkt. #318). On June 28, 2010, the Court issued

an Initial Case Management Order which established a deadline for the filing of pretrial motions, a

briefing schedule for the motions, a deadline by which defendants could enter a guilty plea and

receive 3rd-level acceptance, and scheduled an omnibus hearing date of August 27, 2010, at which

time all pending pretrial motions are to be heard. In the instant motion, defendant Firempong seeks

to be excused from attending the August 27, 2010 hearing. A review of the pending motions in this

case reveals that defendant Firempong does not have a pending pretrial motion. As such, his

presence at the August 27, 2010 hearing is not required. Accordingly,

               IT IS HEREBY ORDERED that defendant Firempong's motion to excuse defendant

from attending upcoming hearing (Dkt. #318) is GRANTED.


Date: August 18, 2010                                        /s/ Paul L. Maloney
                                                            Paul L. Maloney
                                                            Chief United States District Judge
